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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
              v.
 ROBERT MENENDEZ, NADINE MENENDEZ,                             23-Cr-490 (SHS)
 WAEL HANA, and FRED DAIBES,
                                                                ORDER
                            Defendants.


SIDNEY H. STEIN, U.S. District Judge.
    Defendant Robert Menendez objects pursuant to Rule 403 of the Federal Rules of
Evidence to the Government's proposal that GX 4A-3-a redacted and excerpted
version of a slide deck that Menendez' s then-counsel Abbe Lowell provided to
prosecutors on September 11, 2023-be offered through a government paralegal who
lacks substantive knowledge of the exhibit. (See Menendez Motion, ECF No. 462; Govt.
Opposition, ECF No. 468.)
     Menendez urges that offering GX 4A-3 in this manner, rather than through Lowell
himself, invites the dangers of unfair prejudice, confusing the issues, and misleading
the jury by leaving an alleged misimpression that Menendez approved of the content in
the slide deck and specifically authorized Lowell to present the slide deck to the
prosecutors. The Government counters that while the jury may certainly draw the
inference that Menendez authorized Lowell to present the statements in the slide deck
in exactly the form in which those statements were written, such an inference is, far
from being a "misimpression," instead perfectly proper. This is so because "[t]he
relationship between a lawyer and client is one of agent and principal," Carter v.
HealthPort Techs., LLC, 822 F.3d 47, 58 (2d Cir. 2016) (quoting In re Artha Management,
Inc., 91 F.3d 326, 328 (2d Cir. 1996)), and so when certain statements are made that "in
all probability had to have been confirmed by the defendant," United States v. McKean,
738 F.2d 26, 33 (2d Cir. 1984), the jury is permitted to infer the client's role in an
attorney's statement. That is the case with the redacted and excerpted slide deck, which
identifies information of the kind that "in all probability had to have been confirmed"
by Menendez, such as the date when "[t]he Senator leam[ed] of car payments made by
Uribe." (ECF No. 468, Ex. 1 at 5.) In any event, it is for the jury to draw appropriate
inferences from this evidence.
    Pursuant to Rule 403, the Court finds that the probative value of GX 4A-3,
presented through a government paralegal, is not substantially outweighed by a danger
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of unfair prejudice, confusing the issues, or misleading the jury. See Fed. R. Evid. 403.
Menendez's objection to the introduction of GX 4A-3 pursuant to Rule 403 is overruled.
Dated: New York, New York
       June 17, 2024


                                         SO   ZED: IIft
                                            Sidni=ztein, U.S.D.J.




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